Case 0:18-cv-61075-FAM Document 60 Entered on FLSD Docket 10/27/2022 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 18-cv-61075-Moreno

  MITZY BATISTA,

                 Plaintiff,
  v.

  SOUTH FLORIDA WOMAN’S
  HEALTH ASSOCIATES, INC.,
  EDWARD D. ECKERT,

              Defendants.
  __________________________________/

        MOTION TO DISBURSE FUNDS FROM THE REGISTRY OF THE COURT

         Plaintiff, Mitzy Batista, by and through the undersigned counsel, pursuant to the Court’s

  Order Granting Motion for Order Permitting Deposit of Funds in Court Registry [ECF No. 25] and

  the Clerk’s Receipt [ECF No. 27], respectfully requests the Court to direct the Clerk to disburse

  all the funds being held in the Registry of Court for Plaintiff.

                                                 Respectfully submitted,

                                                 Koz Law, P.A.
                                                 800 East Cypress Creek Road, Suite 421
                                                 Fort Lauderdale, Florida 33334
                                                 Tel: (786) 924-9929
                                                 Fax: (786) 358-6071
                                                 Email: ekoz@kozlawfirm.com




                                                 Elliot Kozolchyk, Esq.
                                                 Bar No.: 74791
